

People v Batts (2022 NY Slip Op 06644)





People v Batts


2022 NY Slip Op 06644


Decided on November 22, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 22, 2022

Before: Renwick, J.P., Manzanet-Daniels, Oing, Moulton, González, JJ. 


Ind. No. 4706/17, 2486/19 Appeal No. 16707-16707A Case No. 2020-04310 

[*1]The People of the State of New York, Respondent,
vDarius Batts, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Stephen J. Kress of counsel), for respondent.



Judgments, Supreme Court, New York County (Guy H. Mitchell, J. at first plea; Maxwell Wiley, J. at second plea and sentencing), rendered September 23, 2017, convicting defendant of two counts of robbery in the second degree, and sentencing him to concurrent terms of four years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and fees imposed at sentencing on Indictment No. 4706/17, and otherwise affirmed
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing for defendant's conviction of a crime committed when he was 19 years old (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 22, 2022








